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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


MOHAMAD RIDA-AHMAD HASSOUN, et al.,
                                                     CIVIL ACTION NO: 22-11377
     Plaintiff,
                                                      HON. DENISE PAGE HOOD
v.

CITY OF GROSSE POINTE FARMS, et al.,

     Defendant.
                                      /

                                SCHEDULING ORDER

      This case, having come before the Court pursuant to Rule 16(b)(1)(A) of the Federal
Rules of Civil Procedure or Rule 16(b)(1)(B) status conference, the Court ORDERS the
following schedule controlling the progress of this case:

Initial Disclosures must be exchanged by:                  September 30, 2022

Amendments to Pleadings or Joinder of Parties
    must be filed by:                                      October 28, 2022

Initial Witness List must be exchanged by:                  December 9, 2022

Discovery must be completed by:                            May 24, 2023

Alternative Dispute Resolution referrals may be ordered under Local Rules 16.3 to 16.7.
The parties may contact the Court no later than the discovery deadline for referral under
any of the ADR procedures. The Scheduling Order continues to govern the case during
the ADR process. See Local Rule 16.3(g).

Referrals to the Magistrate Judge:

Motions (except trial motions in limine) must be filed by: June 26, 2023
     Motion practice is governed by Local Rule 7.1 and Appendix CM/ECF.
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Final Pretrial Conference:

     1)    A proposed Joint Final Pretrial Order (governed by Local Rule 16.2)
           must be submitted by and trial motions in limine
           must be filed by:                              September 11, 2023

     2)    The final pretrial conference is set for: September 18, 2023 @ 2:30 pm

     3)    Your client(s) or representative with full settlement authority must be present
           at the above conference.

Trial (Jury X or Bench       ) is set for:                  October 17, 2023, 9:00 am
       No. of Days: 3 - 5

     1)    The parties must exchange exhibits listed in the JFPTO prior to trial. Exhibits
           and witnesses not listed in the JFPTO will not be presented at trial.
     2)    The parties must confer on proposed jury instructions prior to trial and submit
           one joint agreed to jury instructions on the first day of trial.

Other Requirements:
     1)   The Local Rules/Appendix ECF (www.mied.uscourts.gov or the Clerk’s
          Office for pro se litigants) and Federal Rules of Civil Procedures govern.
     2)   Submissions of proposed Orders are governed by Local Rules 5.2, 58.1 and
          Appendix CM/ECF.
     3)   A schedule may be modified only for good cause by leave of Court either
          through a Stipulation and Order submitted by the parties or, if no concurrence,
          by Motion. Fed. R. Civ. P. 16(b)(4); Local Rule 40.2.

Additional Matters:



                                     s/Denise Page Hood
                                     Denise Page Hood
                                     United States District Court

Dated: October 11, 2022




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